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                          UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION

       Baby Doe et al.,

                      Plaintiffs,
       v.

       MAST et al.,

                      Defendants,                              Civil Action No. 3: 22-cv-49
       and

       UNITED STATES SECRETARY OF STATE
       ANTONY BLINKEN et al.,

                   Nominal Defendants.


                                      PROPOSED ORDER

             Having considered Federal Defendants’ Motion to Seal, and for good cause

      shown, and the requirements of Local Civil Rule 9(b) having been met, it is hereby

             ORDERED that Federal Defendants’ Motion is GRANTED. It is further

             ORDERED that the document filed at Docket No. 171-6 (Exhibit 6 to

      Defendant Richard Mast’s Memorandum in Opposition to Plaintiff’s Motion for

      Protective Order (filed Feb. 27, 20203)) be kept permanently under seal. It is further

             ORDERED that any publicly-filed version of that document be redacted

      consistent with Exhibit A to the Declaration of Frank M. Branch, submitted with

      Federal Defendants’ Motion.

             SO ORDERED.

             Dated: ___________                          ___________________
                                                         Joel C. Hoppe
                                                         United States Magistrate Judge
